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                                          #:8245
1    Carney R. Shegerian, Esq., State Bar No. 150461
     CShegerian@Shegerianlaw.com
2    Mahru Madjidi, Esq., State Bar No. 297906
     MMadjidi@Shegerianlaw.com
3    Alex Di Bona, Esq., State Bar No. 265744
     ADiBona@Shegerianlaw.com
4    SHEGERIAN & ASSOCIATES, INC.
     320 North Larchmont Boulevard
5    Los Angeles, California 9004
     Telephone Number:        (310) 860 0770
6    Facsimile Number:        (310) 860 0771
7    Attorneys for Plaintiff,
     ALEX VILLANUEVA
8

9                    THE UNITED STATES DISTRICT COURT FOR THE
10            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11

12   ALEX VILLANUEVA                              Case No.: 2:24-cv-04979-SVW-JC
13          Plaintiff,                            [Assigned to Hon. Stephen V. Wilson, and
                                                  Magistrate Judge Jacqueline Chooljian]
14   vs.
                                                  PLAINTIFF ALEX VILLANUEVA’S
15   COUNTY OF LOS ANGELES,                       REPLY TO DEFENDANT’S
     COUNTY OF LOS ANGELES                        OPPOSITION TO HIS MOTION IN
16   SHERIFF’S DEPARTMENT, LOS                    LIMINE NO. 2 TO EXCLUDE
     ANGELES COUNTY BOARD OF                      EVIDENCE OF REFERENCE TO
17   SUPERVISORS, COUNTY EQUITY                   ALLEGED MISCONDUCT OF THIRD
     OVERSIGHT PANEL, LOS                         PARTY; MEMORANDUM OF POINTS
18   ANGELES COUNTY OFFICE OF                     AND AUTHORITIES;
     INSPECTOR GENERAL,
19   CONSTANCE KOMOROSKI,                         (MIL NO. 2 OF 6)
     MERCEDES CRUZ, ROBERTA
20   YANG, LAURA LECRIVAIN,                       Date: May 26, 2025
     SERGIO V. ESCOBEDO, RON                      Time: 1:30 p.m.
21   KOPPERUD, ROBERT G. LUNA,                    Ctrm.: 10A—First Street Courthouse
     MAX-GUSTAF HUNTSMAN,
22   ESTHER LIM, and DOES 1 to 100,
     inclusive,
23

24         Defendants.                            Trial Date:   June 3, 2025
                                                  Action Filed: June 13, 2024
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                         PLAINTIFF’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 2
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1                     MEMORANDUM OF POINTS AND AUTHORITIES
2      I.    SUMMARY OF RELIEF SOUGHT
3           Plaintiff Alex Villanueva (“Villanueva” or “Plaintiff”) moves in limine to exclude
4    evidence of, reference to, or testimony regarding any alleged misconduct of third party
5    Mark Lillienfeld. Defendants’ Opposition fails for three fundamental reasons. First, it
6    mischaracterizes the purpose and scope of Plaintiff’s motion, which seeks to exclude
7    wholly irrelevant and unduly prejudicial third-party misconduct. Second, it distorts the
8    legal standards governing relevance and impeachment by attempting to use extrinsic
9    character evidence to confuse and smear. Third, it incorrectly asserts that this evidence
10   rebuts Plaintiff’s claims, when in reality, it serves only to incite the jury with inflammatory
11   innuendo and guilt by association. The motion should be granted in its entirety.
12    II.    DEFENDANTS’ “CREDIBILITY” ARGUMENT IGNORES LIMITS
13           ON IMPEACHMENT
14          Defendants argue that they are entitled to introduce evidence of Mark Lillienfeld’s
15   alleged misconduct to attack his credibility. But Federal Rule of Evidence 608(b) flatly
16   prohibits the use of extrinsic evidence—such as the incidents described by Defendants—
17   for this very purpose. Even if credibility were a proper basis, Defendants may inquire
18   about specific conduct on cross-examination, but they may not introduce newspaper
19   articles, disciplinary records, or other extrinsic evidence of alleged prior bad acts.
20          Further, any probative value is minimal. None of the alleged misconduct—whether
21   related to fast food, insensitive remarks, or inappropriate gestures—bears on truthfulness.
22   The Ninth Circuit has made clear that impeachment by misconduct must relate directly to
23   a witness’s capacity for honesty. See United States v. Hitt, 981 F.2d 422, 424 (9th Cir.
24   1992). Defendants' proposed evidence fails this test.
25   III.    THE EVIDENCE IS INADMISSIBLE CHARACTER EVIDENCE
26           UNDER FRE 404(b)
27          Defendants improperly seek to introduce character evidence to suggest that because
28   Lillienfeld committed unrelated misconduct in the past, he is now more likely to have


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                         PLAINTIFF’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 2
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1    fabricated an allegation about Max Huntsman. This is a textbook violation of Rule 404(b),
2    which prohibits evidence of a person's character to prove that on a particular occasion,
3    they acted in accordance with that character.
4          Defendants’ attempt to tie Lillienfeld’s alleged conduct to Plaintiff—without any
5    actual evidence of Plaintiff’s complicity—is nothing more than an effort to taint Plaintiff
6    by association. That tactic is impermissible. See United States v. McVeigh, 153 F.3d 1166,
7    1202 (10th Cir. 1998) (excluding evidence introduced solely to "guilt by association").
8    IV.      THE “DO NOT REHIRE” ARGUMENT MISSES THE POINT
9          Defendants argue that Lilienfeld’s “Do Not Rehire” notation rebuts Plaintiff’s claim
10   that such notations were unprecedented. But this argument ignores the timeline: Plaintiff’s
11   notation was issued before Lilienfeld’s do not rehire, and Lilienfeld’s case involved
12   entirely different facts and procedures.
13         Moreover, introducing a full mini-trial on Lilienfeld’s case—including disputed
14   accusations of racism and Nazi salutes—would cause unfair prejudice, confuse the issues,
15   and waste time in violation of FRE 403. See Old Chief v. United States, 519 U.S. 172, 180
16   (1997).
17    V.      DEFENDANTS’ ARGUMENT THAT PLAINTIFF RELIES ON
18            LILLIENFELD IS A DISTORTION
19         Plaintiff’s reference to a statement allegedly made by Lilienfeld regarding Huntsman
20   does not open the door to every inflammatory accusation ever made against him. Plaintiff
21   is not offering Lilienfeld as a character witness or as an expert. To the extent Defendants
22   wish to impeach that statement, they may do so within the bounds of FRE 608(b)—not by
23   turning trial into a referendum on third-party controversies.
24         Indeed, Defendants themselves moved in limine to exclude the statement about
25   Huntsman being a “Holocaust denier” as hearsay. Their present argument seeks to exploit
26   that very statement while simultaneously arguing that it should be excluded. This
27   contradictory position underscores the irrelevance and prejudicial nature of the material at
28   issue.


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                        PLAINTIFF’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 2
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1    VI.    CONCLUSION
2          Defendants’ arguments rely on inadmissible character evidence, extrinsic
3    impeachment, and misleading analogies that would only confuse and prejudice the jury.
4    The introduction of third-party misconduct—particularly allegations involving racist
5    behavior and Nazi salutes—is far more prejudicial than probative and has no legitimate
6    bearing on Plaintiff’s claims or defenses.
7          For these reasons, Plaintiff respectfully requests that the Court grant the Motion in
8    Limine No. 2 in full and exclude all evidence and references to the allegation Lillienfeld
9    (1) Lillienfeld abused his authority as a homicide detective by sneaking food to an inmate
10   in jail; (2) failed to sufficiently investigate claims of corruption; and (3) engaged in racist
11   and unprofessional behavior and had a do not rehire notation placed in his file.
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13   Dated: May 12, 2025                SHEGERIAN & ASSOCIATES, INC.
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15                                      By:
                                              Alex DiBona, Esq.
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                                              Attorneys for Plaintiff
17                                            ALEX VILLANUEVA
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                         PLAINTIFF’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 2
     Case 2:24-cv-04979-SVW-JC    Document 121     Filed 05/12/25   Page 5 of 5 Page ID
                                        #:8249
1    VILLANUEVA v. COUNTY OF LOS ANGELES, et al. USDC Case No. 2:24-cv-04979 SVW (JC)
2                                   PROOF OF SERVICE
3                           UNITED STATES DISTRICT COURT
4            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
5         I am an employee in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is 11520 San Vicente
6    Boulevard, Los Angeles, California 90049.
7    On May 12, 2025, I served the foregoing document, described as “PLAINTIFF ALEX
     VILLANUEVA’S REPLY TO DEFENDANT’S OPPOSITION TO HIS MOTION
8    IN LIMINE NO. 2 TO EXCLUDE EVIDENCE OF REFERENCE TO ALLEGED
     MISCONDUCT OF THIRD PARTY; MEMORANDUM OF POINTS AND
9    AUTHORITIES;” on all interested parties in this action as follows:
10   Louis R. Miller (State Bar No. 54141)
     smiller@millerbarondess.com
11   Jason H. Tokoro (State Bar No. 252345)
     jtokoro@millerbarondess.com
12   Steven G. Williamson (State Bar No. 343842)
     swilliamson@millerbarondess.com
13   MILLER BARONDESS, LLP
     2121 Avenue of the Stars, Suite 2600
14   Los Angeles, California 90067
15         BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
           document(s) with the Clerk of the Court by using the CM/ECF system. Participants
16         in the case who are registered CM/ECF users will be served by the CM/ECF system.
           Participants in the case who are not registered CM/ECF users will be served by mail
17         or by other means permitted by the court rules.
18         (FEDERAL) I declare that I am employed in the office of a member of the bar of
           this Court at whose direction the service was made.
19
          Executed on May 12, 2025, at Los Angeles, California.
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                                                 Amelia Sanchez
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